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 8   CAROLWOOD EQUITIES, LLC and
 9
     CAROLWOOD CAPITAL PARTNERS, LLC

10
                        UNITED STATES DISTRICT COURT
11
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   CAROLWOOD EQUITIES, LLC, a          Case No.:2:22-cv-08951
14   Delaware Limited Liability Company,
     and CAROLWOOD CAPITAL                COMPLAINT FOR:
15   PARTNERS, LLC, a California Limited
16   Liability Company                     1. False Designation of Origin
                                           2. California Trademark
17
                 Plaintiffs,                  Infringement
18                                         3. Unfair Competition
          v.
19
                                              JURY TRIAL DEMANDED
20   CAROLWOOD PARTNERS, INC., a
     California Corporation; and DOES 1
21   through 10, inclusive,
22             Defendants.
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 1         Plaintiffs CAROLWOOD EQUITIES, LLC, and CAROLWOOD CAPITAL
 2   PARTNERS, LLC (collectively “Plaintiffs”), by and through their undersigned
 3   counsel, complaining of the Defendant CAROLWOOD PARTNERS, INC.
 4   (“CPI”); and DOES 1 through 10, inclusive (collectively, “Defendants”),
 5   respectfully allege as follows:
 6                              NATURE OF THE ACTION
 7         1.     Plaintiffs provide real estate investment services, acquisition, and
 8   management, among other financial and private investment activities, and have
 9   done so since 2014. Plaintiffs own federal and California state common law rights
10   to the mark CAROLWOOD associated with the provision of these services.
11   Defendants have knowingly and intentionally used the mark CAROLWOOD with
12   the provision of real estate brokerage services, seeking to capitalize on Plaintiffs’
13   eight years of marketing and goodwill, causing confusion in the marketplace and
14   giving rise to this action. This conduct represents a blatant attempt by Defendants
15   to seize upon Plaintiff’s reputation in the real estate industry, and turn it to their
16   advantage.
17                             JURISDICTION AND VENUE
18         2.     The Court has original subject matter jurisdiction over Plaintiffs’
19   federal claims arising under the Trademark Act of 1946, Title 15 U.S.C., § 1051 et
20   seq. under 28 U.S.C. § 1331, 1338 (a) and (b).
21         3.     This Court has personal jurisdiction over the Defendants because the
22   events or omissions giving rise to the claim occurred, the tortuous acts occurred,
23   and a substantial part of the injury took place and continues to take place, in this
24   judicial district and/or each of the defendants can be found in this judicial district.
25         4.     Venue is proper in the United States District Court for the Central
26   District of California pursuant to 28 U.S.C §§ 1391(b), 1391(c), and 1400(a) on
27   information and belief that: (a) this is a judicial district in which a substantial part
28   of the events giving rise to the claims occurred the tortuous acts occurred, and a

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 1   substantial part of the injury took place and continues to take place; and (b) this is
 2   a judicial district in which Defendants may be found.
 3         5.      Upon information and belief, Defendants’ principal place of business
 4   is 9440 Santa Monica Blvd., Ste 800, Beverly Hills, California 90210 which is in
 5   the Central District of California.
 6                                         THE PARTIES
 7         6.      Plaintiff CAROLWOOD EQUITIES, LLC (“Carolwood Equities”) is
 8   a Delaware Limited Liability Company with its principal place of business in Los
 9   Angeles, California.
10         7.      Plaintiff CAROLWOOD CAPITAL PARTNERS, LLC is a California
11   Limited Liability Company, with its principal place of business in Los Angeles,
12   California.
13         8.      Upon     information      and   belief,         Defendant   CAROLWOOD
14   PARTNERS, INC is, and, at all relevant times was, a California corporation doing
15   business within the jurisdiction of this Court.
16         9.      Defendants DOES 1 through 10 are individuals and/or entities whose
17   true names and capacities are presently unknown to Plaintiffs. Plaintiffs are
18   informed and believe, and thereon allege, that, at all times herein mentioned, each
19   of the fictitiously named defendants was the agent, servant, and/or employee of his
20   or her co-defendants and, in doing the things herein mentioned, was acting within
21   the scope of his or her authority as such agent, servant, and/or employee, and with
22   the permission and consent of his or her co-defendants, and that each of said
23   fictitiously named defendants is, in some manner, liable or responsible to Plaintiffs
24   based upon the facts hereinafter alleged and thereby proximately caused injuries
25   and damages to Plaintiffs as more fully alleged herein. Accordingly, Plaintiffs sue
26   said defendants by said fictitious names. At such time as said defendants’ true
27   names and capacities become known to Plaintiffs, Plaintiffs will seek leave to
28   amend this Complaint to insert said true names and capacities of such individuals

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 1   and/or entities.
 2         10.    At all relevant times, as alleged more fully herein, each Defendant
 3   acted as an agent, servant, employee, co-conspirator, alter-ego and/or joint venturer
 4   of the other Defendants, and in doing the things alleged herein acted within the
 5   course and scope of such agency, employment, alter-ego and/or in furtherance of
 6   the joint venture. Each of the Defendants acts alleged herein was done with the
 7   permission and consent of each of the other Defendants.
 8                               FACTUAL BACKGROUND
 9         11.    Plaintiffs provide real estate investment services, acquisition, and
10   management, among other financial and private investment activities, and have
11   done so since 2014. Plaintiffs have used the mark CAROLWOOD with provision
12   of these services and has been known by that mark to others in real estate investing
13   and property management community. Over the past eight years, Plaintiffs have
14   invested significant sums of time and money to build the CAROLWOOD name and
15   brand in the real estate arena. This has included press coverage of Plaintiffs’
16   actions:           https://la.eater.com/2019/5/21/18632735/croft-alley-beverly-hills-
17   opening-coming-new-california.
18         12.    Carolwood Equities licenses the mark CAROLWOOD to a number of
19   entities that operate discrete business on Carolwood Equities’ behalf both in
20   California and throughout the United States.
21         13.    Carolwood Equities further has numerous investments utilizing the
22   CAROLWOOD mark, and the CAROLWOOD design mark (shown below) is well
23   known in the real estate investing and property management community:
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27         14.    The CAROLWOOD design mark and the CAROLWOOD word mark
28   are collectively referred to as the “Protected Marks.” The Protected Marks are used

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 1   along with the provision of real estate investment services throughout the United
 2   States. Carolwood Equities both in California and throughout the United States.
 3         15.    Carolwood Equities is presently using the CAROLWOOD mark to buy
 4   two residential development sites in Beverly Hills. Once developed, Carolwood
 5   Equities will sell these luxury residences under the CAROLWOOD name. The
 6   transaction is currently in escrow.
 7         16.    The Protected Marks have long been used with the provision and
 8   advertisement of real estate investment services by Plaintiffs at numerous outlets
 9   including, but not limited to, Plaintiff’s website, Bloomberg, Prequin and
10   elsewhere. As such, there is no doubt that third parties, including Defendants, had
11   access to the Protected Marks. Moreover, several individuals who worked with
12   Plaintiffs have now gone on to work for Defendants, eliminating any possibility that
13   Defendants were not aware of the Protected Marks.
14                      DEFENDANTS’ INFRINGING CONDUCT
15         17.    Based on information and belief, on or around July 13, 2022, Drew
16   Fenton (“Fenton”), Ed Leyton (“Leyton”), Nick Segal (“Segal”) formed Carolwood
17   Partners, LLC as members.
18         18.    Upon information and belief, on or around August 23, 2022,
19   Carolwood Partners, LLC filed an intent-to-use trademark application for
20   CAROLWOOD in international class 36 for “real estate brokerage services.”
21   International class 36 covers insurance and financial services, such as the real estate
22   investment services Plaintiffs provide.
23         19.    Upon information and belief, on or around September 9, 2022, Fenton,
24   Leyton, and Segal converted Carolwood Partners, LLC to CPI. However, CPI did
25   not file a name change with the USPTO.
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27   ///
28   ///

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 1         20.    Upon information and belief, Fenton announced that CPI would be
 2   launching on his personal Instagram page on or around November 10, 2022. Images
 3   from that post are shown below:
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16         21.    The confusion begins with the bottom of this post. In the comparison

17   below, the mark used on Fenton’s Instagram page from paragraph 20 is shown to the

18   left, and the Design Mark is shown on the right. The marks are identical in using a

19   single color of an identical font on a contrasting background.

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 1          22.    Upon information and belief, on or around November 10, 2022, CPI
 2   issued a press release announcing its creation, which is available at:
 3   https://www.prnewswire.com/news-releases/drew-fenton-ed-leyson-and-nick-
 4   segal-announce-the-opening-of-their-new-firmcarolwood-301675091.html.            This
 5   press release recommended readers to tweet the following message on Twitter:
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            23.    Perhaps unsurprisingly, within hours of CPI’s launch one real estate
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     investor wrote to Plaintiffs to inquire as to why investors were not informed first of
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     Plaintiff’s activities:
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                                                        -7-                       Complaint
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 1         24.   A few days later another investor wrote in just as confused as the last
 2   investor:
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 1         25.    At this point, it was obvious that marketplace participants in the real
 2   estate investment markets, even very savvy ones, could not tell the genuine services
 3   offered by Plaintiffs from the services offered by CPI (the “Infringing Services”).
 4         26.    Additionally, Plaintiffs’ location and CPI’s location are in a very small
 5   geographical area in Beverly Hills and West Hollywood, less than two miles apart.
 6         27.    A real estate investor in the West Los Angeles, Beverly Hills, or West
 7   Hollywood area would not know which company is offering which services due to
 8   the proximity of these locations, and their work with the same customers in the same
 9   place, in similar fields. Indeed, real estate investors are confused as shown above.
10         28.    In the real estate field, the name, identity, reputation, and character of
11   the firm engaged in such services is just as important as the quality of the property
12   or products being marketed and sold, if not more. Plaintiffs have spent years and
13   considerable sums of money building the Carolwood brand and reputation in this
14   small community, upon which CPI is now trying to capitalize.
15                              FIRST CLAIM FOR RELIEF
16                 (False Designation of Origin – Against all defendants)
17         29.    Plaintiffs hereby reallege and incorporates the allegations contained in
18   the preceding paragraphs as if fully set forth herein.
19         30.    Plaintiffs have continuously used their Protected Marks, and the
20   variations thereof, in commerce throughout all the United States, including this
21   judicial district, in connection with and as a source identifier for Plaintiffs’ services.
22         31.    Plaintiffs’ Protected Marks designate the origin of Plaintiffs’ services
23   as is recognized by numerous real property investments bearing the Protected
24   Marks to attract investors. The recognition by others of the origin of goods
25   establishes rights under the Lanham Act.
26         32.    The Defendants have used the Protected Marks to pass of their own
27   services as the services of the Plaintiffs.
28   ///

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 1          33.     The false designation is likely to, and in fact has, caused confusion,
 2    mistake, or deception in the marketplace for real estate investing as to the affiliation,
 3    connection, or association of defendant with another person, or as to the origin,
 4    sponsorship, or approval of Defendants’ services, or commercial activities by
 5    consumers.
 6          34.     Defendants’ acts are willful and, unless restrained, will continue to
 7    cause great and irreparable injury to Plaintiffs, Plaintiffs’ business, Plaintiffs’
 8    business relationship with its investors, and to the goodwill and reputation of
 9    Plaintiffs, leaving Plaintiffs no adequate remedy at law.
10          35.     Defendants’ acts are the proximate cause of such injury and damage.
11          36.     By reason of the foregoing, Plaintiffs are entitled to preliminary and
12    permanent injunctive relief against Defendants, and anyone acting in concert with
13    Defendants, to restrain further acts of false designation of origin of Plaintiffs’ rights
14    and, after trial, to recover any damages proven to have been caused by reason of
15    Defendants’ aforesaid acts of infringement and any enhanced damages justified by
16    the willful and intentional nature of such acts.
17                              SECOND CLAIM FOR RELIEF
18                (California Trademark infringement - Against All Defendants)
19          37.     Plaintiffs hereby reallege and incorporate the allegations contained in
20    the preceding paragraphs as if fully set forth herein.
21          38.     Since at least as early as 2014, Plaintiffs have continuously used their
22    Protected Marks, in commerce throughout the State of California, including this
23    judicial district, in connection with and as a source identifier for Plaintiffs’ services.
24          39.     Defendants have made use of Plaintiffs’ Protected Marks, without
25    Plaintiffs’ consent, knowledge, or authority.
26          40.     Defendants’ unauthorized use of Plaintiffs’ Protected marks in
27    connection with Defendants’ marketing and sales of the Infringing Services
28    constitutes   infringement     of   Plaintiffs’    common     law    trademark     rights,

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 1    misappropriates the valuable goodwill developed by Plaintiffs in the Protected
 2    Marks, and is likely to cause (and has actually caused) confusion, mistake, and/or
 3    deception among the relevant public as to the source of Defendants’ services or
 4    their affiliation, sponsorship or approval of Defendants’ Infringing Services by
 5    Plaintiffs and/or Plaintiffs’ business affiliates, advertisers, and investors.
 6           41.    Defendants’ acts constitute the use in commerce of false designations
 7    of origin and false and/or misleading descriptions or representations, tending to
 8    describe and/or represent, in a false or misleading fashion, Defendants’ services as
 9    those of Plaintiffs’.
10           42.    Plaintiffs have earlier established, superior rights in their Trademarks.
11           43.    Defendants are aware of Plaintiffs’ use and corresponding rights in the
12    Trademarks. Defendants’ aforementioned acts constitute the use of Plaintiffs’ exact
13    Trademarks for identical or substantially similar goods and services, amounting to
14    willful infringement of Plaintiffs’ trademark rights.
15           44.    Defendants acts of willful infringement of Plaintiffs’ rights in the
16    Protected Marks have caused and, unless restrained, will continue to cause great
17    and irreparable injury to Plaintiffs, Plaintiffs’ business, Plaintiffs’ business
18    relationship with its retailers, and to the goodwill and reputation of Plaintiffs,
19    leaving Plaintiffs no adequate remedy at law.
20           45.    Defendants’ acts are the proximate cause of such injury and damage.
21           46.    By reason of the foregoing, Plaintiffs are entitled to preliminary and
22    permanent injunctive relief against Defendants, and anyone acting in concert with
23    Defendants, to restrain further acts of false designation of origin of Plaintiffs’ rights
24    and, after trial, to recover any damages proven to have been caused by reason of
25    Defendants’ aforesaid acts of infringement and any enhanced damages justified by
26    the willful and intentional nature of such acts.
27    ///
28    ///

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 1                              THIRD CAUSE OF ACTION
 2          (Unfair Competition, California Business & Professions Code § 17200
 3                                 – Against All Defendants)
 4          47.    Plaintiffs hereby reallege and incorporate the allegations contained in
 5    the preceding paragraphs as if fully set forth herein.
 6          48.    Defendants’ conduct, as alleged herein, is unlawful and Defendants
 7    engaged in such conduct without privilege, justification or excuse.
 8          49.    Defendants’ numerous instances of misconduct, constitutes an
 9    “unlawful, unfair or fraudulent business act or practice” in violation of California
10    Business & Professions Code § 17200 et seq.
11          50.    Defendants’ conduct has directly and proximately caused and will
12    continue to cause Plaintiffs substantial and irreparable injury, including customer
13    confusion, injury to its reputation, and diminution in value of its intellectual
14    property, and unless restrained, will continue to seriously and irreparably impair
15    further the value of Plaintiffs’ Protected Marks, for which there is no adequate
16    remedy at law.
17          51.     In light of the foregoing, Plaintiff is entitled to an injunction under
18    Cal. Bus. & Prof. Code §§ 17200 et seq. restraining Defendants from engaging in
19    further such unlawful conduct, as well as restitution of those amounts unlawfully
20    obtained by Defendants through their wrongful conduct.
21                                 PRAYER FOR RELIEF
22          WHEREFORE, Plaintiffs respectfully demand the following relief against
23    Defendants, jointly and severally, with respect to each claim for relief:
24          1.     That Defendants and their respective owners, officers, agents,
25                 servants, employees, and attorneys, and all other persons in active
26                 concert or participation with them, be preliminarily and then
27                 permanently restrained and enjoined from:
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 1               a.    Manufacturing, advertising, promoting, displaying, shipping,
 2                     offering for sale, selling, or distributing Infringing Services;
 3               b.    Manufacturing, advertising, promoting, displaying, shipping,
 4                     offering for sale, selling, or distributing any other services or
 5                     other products bearing Plaintiff’s Protected Marks, or any other
 6                     copy, reproduction, or colorable imitation thereof, or any other
 7                     mark or design that is confusingly similar or substantially
 8                     similar thereto; and
 9          2.   That Plaintiffs be awarded all profits of Defendants plus all losses of
10               Plaintiffs, the exact sum to be proven at the time of trial, or, if elected
11               before final judgment, statutory damages as available under the
12               Copyright Act, 17 U.S.C. § 101 et seq.;
13          3.   Compensatory, punitive, exemplary, consequential, incidental, and/or
14               special damages, in an amount to be determined at trial;
15          4.   Restitution;
16          5.   Pre-judgment and post-judgment interest;
17          6.   Costs of suit incurred herein, including attorney's fees and expenses;
18               and
19          7.   Such other relief as the Court may deem appropriate.
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      Dated: December 9, 2022               NOVIAN & NOVIAN, LLP

22
                                            By:     /s/ Farhad Novian
23                                                 FARHAD NOVIAN
                                                   MICHAEL GERST
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                                                   MICHAEL O’BRIEN
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26
                                                   Attorneys for Plaintiffs
                                                   CAROLWOOD EQUITIES, LLC and
27                                                 CAROLWOOD CAPITAL
28
                                                   PARTNERS, LLC

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